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From:            William Elliott
To:              kate.horwitz@usdoj.gov; frank.zebari@usdoj.gov; chuck_petersonlawyers.com
Bcc:             Scott Skavdahl
Subject:         Hoadley - Supplemental Instruction Upon Juror Replacement
Date:            Saturday, September 24, 2022 11:41:00 AM
Attachments:     Hoadley (22cr56) - Supplemental Instr. #1 (Juror Replacement During Deliberations).pdf


Dear Counsel,

Judge intends to provide this “start deliberations anew” instruction to the jury upon the
replacement juror’s arrival to the courthouse. As indicated in the instruction, we will also obtain the
first Verdict Form and its copy from the jury to seal it in the record and provide them a clean original
and copy at that time.

Absent any objection from you, he intends to hand the jury this written instruction in the jury room
(along with the clean original Verdict Form and copy) but not read it aloud in the courtroom. If you
have any objection to this planned procedure, please let me know quickly.

Thank you.

William Elliott
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111 S. Wolcott St., Suite 210
Casper, WY 82601
(307) 232-2600
